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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA,                 :
                                             :
          Plaintiff,                         :
                                             :
   v.                                        :      Case No. 8:05-cr-142-T-30MSS
                                             :
   EDWARD RAFAEL SAUNDERS, :
       a/k/a “Eddie Saunders”,               :
                                             :
          Defendant.                         :
                                             :


                         FINAL JUDGMENT OF FORFEITURE

          THIS CAUSE comes before the Court upon the filing of the Motion (Dkt.

   #125) by the United States for a Final Judgment of Forfeiture for the following

   property:

                  a.    $7,000.00 in United States currency; and

                  b.    $5,000.00 in lieu of the 2005 Chrysler 300M.

          1.      On September 22, 2005, the Court granted the United States’ motion

   and entered the Preliminary Order of Forfeiture, forfeiting to the United States of

   America all right, title, and interest of defendant Edward Rafael Saunders. (Doc.

   41).

          2.      The only persons or entities known to have any potential interest in

   the subject vehicle are John R. Wadley, Estelle Saunders f/k/a Estelle Wadley, and

   Daimler Chrysler Services. The United States sent, via certified U.S. mail, Notices
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   of Forfeiture, Acknowledgments of Receipt of Notice of Forfeiture, and copies of the

   Preliminary Order of Forfeiture in the instant case to the persons or entities listed

   above.

            3.   Notice of the Preliminary Order of Forfeiture was sent via certified mail,

   return receipt requested, to the following third parties known to have alleged an

   interest in the 2005 Chrysler 300M found subject to forfeiture:

                 a.     John R. Wadley, Certified Mail No. 7002 0460 0003 7650 3735
                        on December 14, 2005. The green certified card signed and
                        returned on December 15, 2005;

                 b.     Estelle Saunders f/k/a Estelle Wadley, Certified Mail No. 7002
                        0460 0003 7650 3742 on December 14, 2005. The green
                        certified card signed and returned on December 15, 2005;
                 c.     Daimler Chrysler Services NA, LLC., Certified Mail No. 7002
                        0460 0003 7641 1887 on December 14, 2005. The green
                        certified card signed and returned on December 19, 2005.

            4.   On January 4, 2006, Daimler Chrysler Services, filed a Claim to the

   2005 Chrysler 300M. (Doc. 63). On January 25, 2006, the United States and

   Daimler Chrysler Services, by and through Melissa Moore, Exception Collector,

   entered into a Stipulated Settlement Agreement. (Doc. 66).

            5.   On January 12, 2006, Daimler Chrysler Services, filed a Claim to the

   2005 Chrysler 300M. (Doc. 65). On July 7, 2008, the United States and Petitioners

   John R. Wadley and Estelle Wadley, by and through their attorney, John A. Shahan,

   entered into a Stipulated Settlement Agreement. (Doc. 110). The United States

   agreed to forfeit $5,000.00 in United States currency in lieu of the 2005 Chrysler

   300M.

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          6.      On August 25, 2008, the United States received a certified check in

   the amount of $5,000.00 which represents funds in lieu of the 2005 Chrysler 300M.

   On September 3, 2008, pursuant to the terms of the Stipulated Settlement

   Agreement, the United States Marshals Service released the 2005 Chrysler 300M

   to the titled owner, John R. Wadley. (Doc. 124).

          7.      In accordance with the provisions of 21 U.S.C. § 853(n), the United

   States published notice of the forfeiture for the subject property of this motion, and

   of its intent to dispose of the properties, The Tampa Tribune, a newspaper of

   general circulation in Hillsborough County, Florida and in the Pasco Times, a

   newspaper of general circulation in Pasco County, Florida on October 4, 2005,

   October 11, 2005 and October 18, 2005. (Docs. 53 and 54). The publication gave

   notice to all third parties with a legal interest in the subject property to file with the

   Office of the Clerk, United States District Court, Middle District of Florida, Sam

   Gibbons Federal Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida

   33602, a petition to adjudicate their interest within 30 days of the final date of

   publication.

          8.      No persons or entities, other than the defendant Edward Rafael

   Saunders, whose interest was forfeited to the United States in the Preliminary Order

   of Forfeiture, and the persons and entities identified in paragraph 3 above, are

   known to have an interest in the subject assets. No third party has filed a Petition

   of Ownership in the subject properties to date other than John R. Wadley, Estelle


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   Wadley and Daimler Chrysler Services, and the time for filing such Petition has

   expired.

               9.          The Court finds that the subject assets are the property of defendant

   Edward Rafael Saunders.

               Accordingly, it is hereby

               ORDERED, ADJUDGED and DECREED that the United States’ motion (Dkt.

   #125) is GRANTED. It is FURTHER ORDERED that all right, title and interest in

   following property is CONDEMNED and FORFEITED to the United States of

   America, pursuant to the provisions of 21 U.S.C. § 853 and Fed. R. Crim. P.

   32.2(c)(2), for disposition according to law:

                           a.          $7,000.00 in United States currency; and

                           b.          $5,000.00 in lieu of the 2005 Chrysler 300M.

               Clear title to the property is now vested in the United States of America.

               DONE and ORDERED in Tampa, Florida on September 16, 2008.




   Copies to:
   Adelaide G. Few, AUSA
   Attorneys of Record
   F:\Docs\2005\05-cr-142.FJ Edward 125.wpd




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